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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE


SUSAN JOHNSON et al.,                       )
                                            )
       Plaintiffs,                          )
                                            )
                      v.                    ) 2:17-cv-00264-JDL
                                            )
CITY OF BIDDEFORD, et al.                   )
                                            )
       Defendants.                          )


                   ORDER ON PARTIAL MOTION TO DISMISS

       On December 29, 2012, James Pak entered Susan Johnson’s apartment in

Biddeford and shot Johnson, her son Derrick Thompson, and Thompson’s girlfriend

Alivia Welch, while Johnson’s minor son, B.L. listened from another room in the

apartment. Thompson and Welch both died from their gunshot wounds, but Johnson

survived. In February 2016, Pak pled guilty to two counts of homicide and was

sentenced to life in prison.

       Johnson brings this action on her own behalf, on behalf of her minor son B.L.,

and as representative for the Estate of Derrick Thompson (hereinafter, “Johnson”),

seeking money damages based on the law enforcement response to the altercation

that preceded and led to the shootings. The defendants include the City of Biddeford,

Police Chief Roger P. Beaupre, and Edward Dexter and Jacob Wolterbeek, two of the

City’s police officers (“the Biddeford Defendants”).1 The complaint also names as



 1 The Biddeford Police Department was previously named as a defendant but is not a legal entity
separate from the City of Biddeford. Accordingly, the Biddeford Police Department and City of
Biddeford are treated as one party - the City of Biddeford.
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defendants the Maine Department of Public Safety, its Commissioner, John E.

Morris, and Jane Doe(s), one or two unnamed police officer(s) and/or dispatch

employee(s).

      The Biddeford Defendants move to dismiss the state law counts asserted in

Johnson’s complaint pursuant to Federal Rule of Civil Procedure 12(b)(6). Those

counts include wrongful death (count VI), intentional infliction of emotional distress

(counts VII, and X), and negligent infliction of emotional distress (count VIII, and XI).

ECF No. 4 at 1; ECF No. 1 at 8-11. The Biddeford Defendants argue that the state

law counts are time-barred by the two-year statute of limitations contained in the

Maine Tort Claims Act, which governs tort actions against governmental entities, 14

M.R.S.A. § 8110 (2016). It states, in relevant part, that “Every claim against a

governmental entity or its employees permitted under this chapter is forever barred

from the courts of this State, unless an action therein is begun within 2 years after

the cause of action accrues.” Arguing that because Johnson’s state law causes of

action accrued on the day of the shooting, December 29, 2012, the Biddeford

Defendants contend that the two-year limitations period ended on December 29,

2014, long before Johnson initiated this lawsuit in July 2017.

      In response, Johnson contends that her state law causes of action accrued, at

the earliest, on February 11, 2016, the date of Pak’s homicide convictions and the first

date on which it was possible for her to obtain access to investigatory records from

the Maine Attorney General’s Office which, she claims, revealed evidence about the

crime that had not been publically available.        The evidence included an audio

recording of the police officers’ encounter with Pak shortly before the shootings in

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which Pak admitted that he had threatened Derrick Thompson and Susan Johnson,

and threatened that there would be “a bloody mess” and the officers “would see it on

the news.” ECF No. 5 at 2. This information was not discoverable, Johnson contends,

until Pak was convicted of the homicides because of the confidentiality requirements

of the Maine Intelligence and Investigative Record Information Act, 16 M.R.S.A. §

801, et seq. (2016), which compelled the Maine Attorney General’s Office not to

publicly disseminate the details of its investigation about the shooting until after the

completion of its prosecution of Pak for homicide. See 16 M.R.S.A. § 804(1), (2)

(prohibiting the dissemination of information that will “[i]nterfere with law

enforcement proceedings relating to crimes” or will “[r]esult in public dissemination

of prejudicial information concerning an accused person or concerning the

prosecution’s evidence that will interfere with the ability of a court to impanel an

impartial jury”).

      Johnson argues that she exercised due diligence in seeking the State’s

investigatory records and could only then have recognized the basis of her state law

claims: that the Biddeford Police Department ignored threats Pak made in the

officers’ presence, and that there is a causal connection between those threats and

the officers’ failure to prevent the shootings that followed.

      In the parties’ written submissions and at the hearing on the motion held on

October 27, 2017, neither party cited to the decisions of the Maine Law Court

regarding what constitutes the “accrual” of a cause of action for purposes of the Maine

Tort Claims Act. I therefore requested the parties submit, in writing, citations to the

Maine decisional law that each party relies on in support of their respective positions.

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The Biddeford Defendants’ written submission cites to Gonzalez v. United States, 284

F.3d 281, 291 (1st Cir. 2002) (citing Bernier v. Upjohn Co., 144 F.3d 178, 180 (1st Cir.

1998), which concerns the discovery rule and doctrine of equitable tolling under

federal law, but does not cite to any decision by the Maine Law Court.2

        In support of her position that her state law causes of action accrued upon her

receipt of the investigatory records in 2016, Johnson’s submission cites to the Maine

Law Court’s decision in McLaughlin v. Superintending School Comm. of Lincolnville,

832 A.2d 782 (Me. 2003).             In McLaughlin, the court declined to consider the

application of the discovery rule in fixing the date of accrual of a cause of action under

the Maine Tort Claims Act, but, citing its earlier decision in Townsend v. Chute

Chemical Co., 691 A.2d 199, 202 (Me. 1997), recognized in dicta “that for the

defendant to prevail on a statute of limitations defense, the defendant [has] the

burden of establishing both that the plaintiff’s injury occurred outside the statute of

limitations and that the existence of the causal relationship was known outside the

statute of limitations.” McLaughlin, 832 A.2d at 789.

        I find this approach persuasive, and both parties’ arguments at the hearing

and in their briefing assume its application: Johnson contends that the Biddeford

Defendants have failed to demonstrate that the existence of the causal relationship

between the police officers’ discussion with Pak and the shooting that followed, was

either known or could have been known by her, any sooner than when she was




 2 By citing Gonzalez, which applies the discovery rule and equitable tolling to Federal Tort Claims

Act claims, 284 F.3d at 288-92, the Biddeford Defendants do not question the applicability of either
the discovery rule or equitable tolling to the present case, and, therefore, I do not address those issues
further.
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provided access to the Maine Attorney General’s Office’s investigatory records in

2016, ECF No. 16 at 2; the Biddeford Defendants, meanwhile, citing allegations made

in Johnson’s complaint, respond that Johnson knew of a possible causal connection

between the police officer’s discussion with Pak and the shooting that followed

immediately after the shootings occurred. ECF No. 15 at 2-3.

      Johnson’s complaint alleges that when Derrick Thompson called the police for

assistance on December 29, 2012, he informed the police that his landlord, Pak, was

making death threats:

            19. Shortly before 6:00pm on December 29, 2012 Derrick
      Thompson called and requested police assistance at 17 Sokokis Road,
      Biddeford, Maine.

             20. In his call Derrick Thompson indicated that his landlord (later
      identified as James Pak) was making death threats to and pointing his
      finger like a gun at Derrick Thompson.

            21. Officers Dexter and Wolterbeek from Biddeford police
      department arrived and spent approximately 40 minutes speaking with
      Derrick Thompson, Susan Johnson and James Pak in their respective
      apartments.

ECF No. 1 at 3. The Biddeford Defendants thus contend that Johnson knew, as of

December 29, 2012, the day of the shooting, that Pak had made death threats and

that, after responding to the phone call, the officers did not arrest Pak or take other

steps to prevent the shootings. They further argue that evidence regarding the

threats Pak voiced directly to the police officers may provide additional support for

the state law counts in Johnson’s complaint, but the additional evidence was not

necessary to provide Johnson a “reason to understand the causal relationship,”

McLaughlin, 832 A.2d at 789, between the police officers’ failure to prevent the

shootings in response to Thompson’s phone call and the harm that ensued.
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      Viewing the allegations of the complaint and the affidavit and other materials

submitted by Johnson in the light most favorable to her as the non-moving party,

Woods v. Wells Fargo Bank, N.A., 733 F.3d 349, 353 (1st Cir. 2013), I conclude that

the Biddeford Defendants have not met their burden. Johnson does not base her state

law claims solely or even primarily on the information communicated by Thompson

when he called the police. A fair reading of the complaint instructs that it was the

information that the police had obtained from speaking with and observing Pak, in

combination with the initial information communicated by Thompson over the phone,

that Johnson alleges should have caused the police to act to protect her and the

others:

      22. During his conversation with James Pak Officer Dexter and/or
      Wolterbeek witnessed Pak making verbal threats about Derrick
      Thompson, Susan Johnson and/or Alivia Welch. Pak indicated he was
      upset about the parking situation with his tenant, Susan Johnson, her
      son, Derrick Thompson and Thompson’s girlfriend, Alivia Welch. Officer
      Dexter and/or Wolterbeek spent significant time discussing with Pak
      that landlord-tenant matters are civil in nature, and the officer cannot
      order anybody to move their car. James Pak admitted to threatening to
      shoot Thompson, Johnson and/or Welch. Officer Dexter and/or
      Wolterbeek responded by telling Pak that he can’t make those types of
      threats.

      23. James Pak’s emotional state continued to heighten while speaking
      with Officer Dexter and/or Wolterbeek. James Pak told the Officer that
      he had a gun and if the Officer didn’t do something about the parking
      “there is going to be a bloody mess” and that “they would see it in the
      news.”

      24. Neither responding officer searched for weapons in James Pak’s
      apartment. Neither responding officer arrested James Pak for the
      threats made to Derrick Thompson, Susan Johnson and/or Alivia Welch.
      The Officers cleared the scene.




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      25. Within minutes of the Officers leaving, James Pak had entered
      Susan Johnson’s apartment and shot Susan Johnson, Derrick
      Thompson and Alivia Welch.

ECF No. 1 at 3.

      The Biddeford Defendants have not disputed Johnson’s assertion that she

could not have discovered the information contained in paragraphs 22, 23, and 24 of

the complaint sooner than February 11, 2016, the earliest date that the information

became discoverable in accordance with the Maine Intelligence and Investigative

Record Information Act, 16 M.R.S.A. § 804(1), (2).    They have thus failed to show

that Johnson had reason to know of a causal relationship between the police officers’

response to the emergency call and the shootings sooner than February 11, 2016.

      It is ORDERED that the Biddeford Defendants’ partial motion to dismiss (ECF

No. 4) is DENIED.


      SO ORDERED.

      Dated this 6th day of December 2017.


                                                        /s/ JON D. LEVY
                                                     U.S. DISTRICT JUDGE




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